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             EXHIBIT 9
             REDACTED




                Highly Confidential – Outside Counsel’s Eyes Only
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                                                                                   CONFIDENTIAL

CONSULTING SERVICES AGREEMENT


This Restated Consulting Services Agreement ("Agreement") is effective as of June 11, 2018
("Effective Date") between Roche Seqencing Solutions, Inc. ~"), a Delaware corporation, and
Arash Alizadeh ("Consultant"), an individual. All capitalized terms are defined herein. The parties
hereby agree as follows:

                                              RECITALS

        A.       Consultant was a substantial securityholder and founder of CAPP Medical, Inc., a
Delaware corporation (the "Company"), and has also been involved in key research, development and
inventive activity on behalf of the Company pertaining to the Company's technology and products.

         B.     In the course of such engagement by the Company, Consultant has developed, obtamed
and been given access to extensive and valuable know-how and confidential information (including trade
secret information) belonging to the Company concerning the Company's technology and business.

       C.        Consultant, in the course of conducting the business of the Company, has also developed
on behalf of the Company significant goodwill that is now a significant part of the value of the Company.

        D.      Pursuant to and subject to the terms and conditions of that certain Agreement and Plan of
Merger, by and among Roche Molecular Systems, Inc. ("RMS"), Merger Sub, the Company and the
Consultants' Agent (each as defmed in the Merger Agreement), effective as of April 19, 215 (the
"Closing Date") Company was acquired by and subsequently merged into RMS. In connection with the
consummation of such merger, as set forth in the Merger Agreement, Consultant received (and will
receive further) substantial cash consideration in exchange for Consultant's equity interest in the
Company.

         E.    In connection with, and as a condition to the consummation of, the transact10ns
contemplated by the Merger Agreement, and to enable RMS to secure more fully the benefits of such
transact10ns, RMS and Consultant entered into a Consulting Service Agreement and a Noncompetition
Agreement, both effective as of April 19, 2015 in order to further develop and protect the intellectual
property and business of the Company and RMS.

        F.       Pursuant to the Consulting Services Agreement Consultant continued to be given
access to and assist the Company in development of extensive and valuable intellectual property including
know-how and confidential information (including trade secret information) belonging to RMS and
concerning RMS' and its affiliates' technology and business including the technology and know-how
acquired as part of the Merger.

      G.        The Parties wish to extend such consulting arrangement pursuant to the terms of this
Agreement.

                                              AGREEMENT

      For good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, Consultant agrees as follows·


1.      Definitions; Services.

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1.1      Definitions. Terms when used with initial capital letters will have the meanings set forth
         below or as otherwise denned in this Agreement.

1.1.1      "Affiliate" means any corporation or other business entity controlled by, controlling or
          under common control with (whether directly or indirectly), RSS, and for this purpose
          "control" means direct or indirect beneficial ownership of more than 50% of the voting
          interest in such corporation or other business entity or having otherwise the power to govern
          the fuiancial and the operating policies or to appoint the management of an organization.
          "Affiliate" shall include, without limitation, CAPP Medical, Inc. and shall not include (a)
          Chugai Pharmaceutical Co., Ltd, 1-1 Nihonbashi-Muromachi 2-Chome, Chuo-ku, Tokyo
          103-8324, Japan ("Chugai") or (b) assunring consummation of the equity purchase
          transactions currently contemplated between an Affiliate ofRSS and Foundation Medicine,
          Inc. ("Foundation"), Foundation, in each case, unless and until RSS provides written notice
          to Consultant specifying Chugai or Foundation as an Affiliate ofRSS.

l .1.2    "Inventions" means any inventions, works of authorship, trade secrets, know-how, and other
          items made, conceived, reduced to practice, authored or otherwise developed, discovered, or
          generated by Consultant, solely or jointly with others.

1.1.3      "IP Rights" means patent applications, patents, copyright applications, copyrights, trade
          secret rights, trademark rights and other intellectual property rights that exist by reason of, or
          may be claimed or obtained on any Invention.

1.2       Services. Consultant agrees to perform the services ("Services") as specified in Exhibit A
          attached and incorporated herein, which is a Statement of Work ("SOW"). Subject to
          Consultant's agreement, additional work may be added to this Agreement in the form of
          SOWs referencing this Agreement and signed by both parties.


2.        Services for RSS Affiliates.

2.1     Affiliates of RSS are entitled to contract for Services under this Agreement, and, in any such
case, the Affiliate and Consultant will be bound by the terms and conditions of this Agreement.

3.        Independent Contractor.

3.1     Consultant is an independent contractor with respect to RSS and is not an employee, agent,
or joint venturer of RSS. Neither Consultant, nor any person designated by Consultant to provide
Services under this Agreement, is eligible for coverage or participation in any ofRSS' benefit plans,
programs, workers' compensation insurance, or any other benefits or compensation from RSS
except as set forth in this Agreement. RSS will not take any deductions from any compensation
paid to Consultant for taxes or related payroll deductions, and Consultant shall be solely responsible
for any taxes resulting from the compensation under this Agreement and agrees to file all such
forms and pay all such taxes as may be required.



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3.2    Neither party shall have any right, power, or authority to create any obligation, express or
implied, on behalf of the other, except to the extent provided in this Agreement.

4.     Consultant's Performance of Services.

4.1     Consultant shall perform all Services himself and shall not, without RSS' prior written
consent, employ or utilize any employee, agent, subcontractor or other person in the performance of
the Services.

4.2     In performing the Services hereunder, Consultant shall not (and shall not induce RSS to)
misappropriate, improperly use or disclose any confidential, secret, proprietary or otherwise
non-public information or trade secrets of any other entity or person. Consultant further agrees not
to bring onto RSS' premises or transfer onto RSS' technology systems any of the following that are
subject to obligations of confidentiality or non-use to a third party or where such actions would
constitute breach of such obligations or otherwise misappropriate third party intellectual property
rights: any third party proprietary materials, confidential or proprietary information or trade secrets.

5.      Conflicting Obligations.

5.1     RSS acknowledges that Consultant is an employee of Stanford University ("Stanford")
and is subject to certain agreements, rules, policies, regulations, orders and guidelines of
Stanford, including, without limitation, policies concerning consulting, conflicts of interest and
ownership of intellectual property (collectively, the "Stanford Policies"). Consultant shall use
commercially reasonable efforts to provide RSS with any updates to the Stanford Policies of
which Stanford notifies Consultant after the Effective Date, whether in writing or by notifying
Consultant that Stanford has posted such updates online, promptly after they are provided to
Consultant or Consultant is notified of such posting. Without in any way limiting Consultant's
obligations or RSS' rights hereunder, if Consultant is required by any of the Stanford Policies to
make any disclosure or take any action that conflicts with the terms of this Agreement or with
the Services, prior to making such disclosure or taking such action, Consultant shall, to the extent
permitted by the Stanford Policies, promptly notify RSS in writing, of such obligation,
specifying the nature of such disclosure or action and identifying the applicable Stanford Policy
under which such disclosure or action is required and shall reasonably cooperate with RSS in
preventing such disclosure or conflict.

5 .2    Consultant shall not use any equipment, supplies, facilities or other resources of Stanford or
any other third person in the performance of the Services, including, except as directed by RSS in
advance in writing, any individual who is a Stanford faculty member, staff member,
undergraduate or graduate student, post doctoral researcher, or other employee, agent or
independent contractor of Stanford or any other third person. Consultant shall segregate all work
related to the performance of the Services from any work performed by Consultant as a Stanford
employee or otherwise on behalf of Stanford and any work performed by Consultant with any
government funding in order to, in each case, minimize any conflicts, claims or disputes relating
to disclosure or ownership of rights concerning any Confidential Information, RSS Work
Product, RSS Inventions, Prior RSS Inventions or IP Rights in any of the foregoing (all as
defined in Section 7 below).

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6.     Compensation.

6.1     In consideration of the performance of the Services to RSS' satisfaction and of the
assignments set forth below in Section 7, RSS agrees to pay to Consultant the sums set forth in each
SOW to this Agreement, including, without limitation, as set forth on Exhibit A attached hereto
("Compensation"). Compensation will be paid net 60 days from the receipt of Consultant's invoice
for such payment (disputed amounts may be withheld until mutually resolved). For the purpose of
RSS controlling payments to Consultant, a Purchase Order ("PO") will be issued to Consultant
(typically, one separate PO will be issued for each SOW, with Exhibit A being considered one
SOW). Consultant may not invoice RSS until a PO is issued, and Consultant shall include the
correct PO number on each invoice submitted or the invoice will be rejected. POs issued are for
payment purposes only and their preprinted terms and conditions will not apply; however, any
mutually agreed specific or special terms and conditions added to a PO shall apply, as described in
Exhibit A or other applicable SOWs.

6.2    RSS has no obligation to pay for Services that RSS can reasonably demonstrate are not
performed pursuant to the requirements set forth in this Agreement.

6.3     All payments made by RSS under this Agreement will be reduced by any tax or other
amounts required to be withheld by RSS under applicable law. During the term of this Agreement,
payments for the Services shall represent fees for services as an independent contractor, and shall
therefore be paid without any deductions or withholdings taken therefrom for taxes or for any other
purpose except as required by law. Consultant agrees to provide any tax and other forms that are
reasonably required by RSS. The intent of the parties is that payments and benefits under this
Agreement comply with Internal Revenue Code Section 409A and, accordingly, to the maximum
extent permitted, this Agreement shall be interpreted to be in compliance therewith.

        7.     Assignment and Inventions.

7.1     Consultant hereby assigns to RSS, its successors and assigns, all right, title, and interest in
and to (a) any Inventions generated or arising in the course of or as a result of Services performed
under this Agreement, regardless of when or where developed or whether or not any of RSS'
equipment, supplies, facilities or other resources are used, and all printed, physical and electronic
copies and other tangible embodiments thereof (collectively, "RSS Inventions");; and (b) all IP
Rights in all of the foregoing, to the full extent of the term for which such IP Rights may exist.
Consultant will promptly disclose any RSS Inventions to RSS in writing and subject to Section 9
(Confidentiality) of this Agreement.

7.2     At RSS' request, Consultant will promptly execute all instruments and documents and
perform all acts deemed by RSS to be necessary or reasonably useful: (a) to perfect RSS' right, title,
and interest in and to RSS Inventions and IP Rights therein in any country or (b) to prepare, apply
for, prosecute, obtain, maintain, defend, and enforce such IP Rights as RSS may desire in any
country. Consultant hereby appoints RSS as his attorney-in-fact solely for purpose of taking any
action where Consultant has failed to comply with any of the foregoing. RSS will pay all costs and
expenses of preparation, application, prosecution, maintenance, defense, and enforcement of such IP
Rights.

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7.3     A copy of the current version of Section 2870 of the California Labor Code
("Section 2870") is attached hereto as Exhibit B. Consultant agrees that because he is not an
employee of RSS, but is instead an independent contractor, Section 2870 will not apply to any
invention unless applicable law requires that it apply to that invention and that invention fully
qualifies for protection under Section 2870. Consultant further agrees that, with respect to any
such invention, he bears the burden of proving such application and qualification. If applicable
law requires that Section 2870 apply to a particular invention that qualifies fully for protection
under Section 2870, such that such RSS may not legally require Consultant to assign to Roche
the Consultant's rights to such invention, then despite anything in this Agreement, Consultant
will not be required to assign that invention to RSS. If applicable law does not require that
Section 2870 apply to a particular invention, or if that invention does not fully qualify for
protection under Section 2870, such that RSS can legally require Consultant to assign its rights to
such invention to RSS, then this Agreement will be applied to that invention as if Section 2870
did not exist.

8.     Representations and Warranties. Consultant covenants, represents and warrants that:

8.1    Omitted;

8.2     Consultant will provide the Services m accordance with all applicable laws and
regulations;

8.3     All corruption, extortion, and embezzlement are prohibited. Consultant shall not offer, pay,
or accept bribes or participate in other illegal inducements. Consultant shall conduct its business
consistent with fair competition and in compliance with all applicable antitrust laws. Consultant
shall employ fair business and employment practices including, but not limited to, equal
employment opportunity. In addition, Consultant must abide by the integrity standards in the Roche
Supplier             Code            of            Conduct          set          forth            at
(http://www.roche.com/roche_supplier_code_of_conduct.pdf). RSS will provide Consultant
prior written notice of any change to the Roche Supplier Code of Conduct;

8.4     Consultant, at his sole expense, will acquire and maintain in good standing, all permits,
licenses and other entitlements required by law for the performance of Services;

8.5     Consultant will comply at all times with Section 4.2, and the Services and RSS Inventions
will not misappropriate third party proprietary materials, confidential or proprietary information or
trade secrets;

8.6     Consultant has no other agreement or relationship with, or commitment to, any other entity
or person, including Stanford or any current or prior employer, that conflicts with his obligations to
RSS under this Agreement or his ability to become a consultant of RSS, and perform the Services.
This Agreement is valid and enforceable. This Agreement and Consultant's performance of the
Services do not and will not violate the Stanford Policies, provided that notwithstanding anything to
the contrary in this Agreement (including anything in this Section 8.6 and in 8.7 below), the



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foregoing representation, warranty, and covenant is made to Consultant's reasonable knowledge
only, which reasonable knowledge was reasonably investigated by Consultant.

8. 7  Consultant has all right, power and authority necessary to enter into and perform this
Agreement; and

8.8     Consultant has never been and is currently not debarred, excluded, or otherwise
disqualified by the United States Food and Drug Administration or other regulatory or
certification authority.

9.       Nondisclosure of Confidential Information.

9.1     "Confidential Information" means technical, financial, or business information, whether in
writing, orally or in any other form, and whether or not labeled "Confidential", that is (a) disclosed
by or on behalf of RSS or any of its Affiliates to Consultant, (b) known to Consultant as a
consequence of or through performance of this Agreement or Services hereunder or (c) developed
or created by Consultant in the course of performing Services hereunder, and which (i) is not
publicly known or (ii) otherwise relates to the Inventions that are subject to the assignment
obligations in Section 7 .1. Confidential Information includes, without limitation, information,
falling under clauses (a) through 1£.l above, about or relating to assays, biomarkers or algorithms for
detecting, quantifying, measuring or analyzing cell-free nucleic acid derived from tumors developed
or created in whole or in part by Consultant in rendering Services hereunder and any other
information relating to RSS and/or its Affiliates' business, processes, knowledge, systems, designs,
methods, formulas, patents, inventions, materials, research plans or activities, prices, sales, costs,
promotional methods, and customers.

9.2      The following is not Confidential Information:
      a) Information generally available to the public at the time of disclosure, or which after
         disclosure by RSS to Consultant becomes generally available to the public through no fault
         or omission attributable to Consultant;
      b) Information made available to Consultant from any third party having a right to do so
         without any obligation of confidentiality back to RSS or any of its Affiliates; or
      c) Information which is not developed or created by Consultant in the course of performing
         Services hereunder and which is developed independently by Consultant, as demonstrated
         by written records, without access to or use of RSS' or any of its Affiliates' Confidential
         Information.

9.3     Consultant shall (a) protect the confidentiality of the Confidential Information, (b) not
disclose Confidential Information other than as provided in this Agreement and (c) use and disclose
the Confidential Information only for the purposes of and as necessary for providing the Services.

10.    Term and Termination. The term of this Agreement begins on the Effective Date and
continues until the one (1) year anniversary of the Effective Date (such period of time, he
"Term"), unless earlier terminated. This Agreement or any SOW may be terminated (i) by
mutual written consent of the parties, or (ii) by either party, for its convenience, by giving thirty
days prior written notice to the other party. Upon termination of this Agreement, and without


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limiting either Party's liability for breach of this Agreement nor either Party's obligations that
accrued prior to or that survive termination, neither Party will have further obligations to the
other Party.

11.    Omitted.

12.  Waiver of Damages. EXCEPT FOR (A) EITHER PARTY'S BREACH OF IDS OR
ITS CONFIDENTIALITY OBLIGATIONS UNDER SECTION 9, (B) PROVIDER'S
BREACH OF SECTION 4.2 OR 5.2, NEITHER PARTY WILL BE DIRECTLY LIABLE
TO THE OTHER PARTY FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES OR
THE LOSS OF ANTICIPATED PROFITS ARISING FROM ANY BREACH OF TIDS
AGREEMENT BY SUCH PARTY, EVEN IF SUCH PARTY IS NOTIFIED OF THE
POSSIBILITY OF SUCH DAMAGES AND REGARDLESS OF WHETHER ANY
REMEDY SET FORTH IN TIDS AGREEMENT FAILS OF ITS ESSENTIAL PURPOSE.

13.     Notice. A party must give any notice under this Agreement by facsimile, overnight courier,
regular mail, certified mail, or by personal delivery at the address set forth above. All notices to
RSS are to be sent to the attention of "General Counsel". Notices will be deemed received: (a) if
sent by facsimile, at the start of the recipient's next business day; or (b) if delivered by overnight
courier or certified mail, when notice is signed for by or on behalf of the receiving party; or (c) if
delivered by regular mail, three business days after the postmark date; or (d) if delivered personally,
when delivered.

14.     Right of Disclosure. RSS is entitled to disclose, without limitation, both internally and
externally, the type of relationship and any compensation and reimbursement. Such disclosure may
include disclosure under state and federal laws such as the Physician Payment Sunshine Act.
Consultant may disclose only the terms or existence of this Agreement as required by law, or after
prior written notice to, and the consent of, RSS.

15.      Publicitv. Consultant will not issue any press release regarding RSS or this Agreement
without RSS' prior written consent. Neither party will use or publish the name of the other party or
his or its officers, directors, employees, agents or consultants (as applicable), its logos or trademarks
or trade names in promotion, publicity, advertising or for any other purpose without the other
party's prior written consent.

16.     Survival. Sections 1.1, 4.2 and Articles 3, 7, 8 (solely with respect to Consultant's acts and
omissions taken prior to the expiration or termination of this Agreement), 9 and 11 through 24 shall
survive expiration or earlier termination of this Agreement.

17.     No Waiver. No term or condition of this Agreement shall be deemed waived unless such
waiver is in writing and signed by the party against whom the waiver is to be enforced. A waiver by
either party of any term or condition of this Agreement in any one instance will not be deemed or
construed to be a waiver of such term or condition in any subsequent instance.

18.     Severabilitv. The invalidity or unenforceability of any provision of this Agreement will
not affect the validity or enforceability of any other provision of this Agreement.


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19.      Assignability. Consultant may not assign or transfer (directly or indirectly) this Agreement
or any Services hereunder without the prior written consent of RSS. Any attempted or purported
assignment of this Agreement or any Services by Consultant without the prior written consent of
RSS is null and void. RSS and its Affiliates may freely share with each other the information that
Consultant provides to them under this Agreement. RSS may assign this Agreement, in whole or in
part, to any Affiliate without the consent of Consultant.

20.     Force Majeure. Neither party shall be liable for failure or delay in performance under this
Agreement due to causes beyond the reasonable control of the party affected ("Force Majeure
Event") such as acts of nature, acts of civil unrest and violence, acts of government, labor disputes,
or any other such causes. The affected party shall provide prompt notice if a Force Majeure Event
causes it to be unable to perform any obligation. Performance shall be promptly resumed after the
Force Majeure Event has been remedied; otherwise, this Agreement may be terminated as provided
in Section 10.

21.      Entire Airreement This Agreement and all Exhibits and SOWs referenced in any of the
foregoing, constitute the parties' entire understanding as of the Effective Date with respect to the
subject matter hereof and supersede all prior agreements, negotiations, understandings,
representations, statements, and writings between the parties relating to such subject matter. This
Agreement does not supersede nor replace the Merger Agreement nor any other written agreement
that is still in effect between the Parties or their Affiliates. Obligations of prior written agreement
that have terms intended to survive termination or expiration of such prior written agreements
(including, without limitation terms pertaining to assignment of intellectual property rights or
protection of confidential information) shall continue to survive pursuant to the terms of such prior
written agreements.

22.     Governing Law; Venue; Waiver of Jury Trial.

22. l This Agreement shall be construed in accordance with, and governed in all respects by, the
internal laws of the State of Delaware (without giving effect to principles of conflicts oflaws).

22.2 Any action, suit or other legal proceeding relating to this Agreement or the enforcement of
any provision of this Agreement (including any action, suit or other legal proceeding based upon
fraud) shall be brought or otherwise commenced exclusively in any state or federal court located in
the County of New Castle, State of Delaware. Each party to this Agreement: (i) expressly and
irrevocably consents and submits to the exclusive jurisdiction of each state and federal court located
in the County of New Castle, State of Delaware (and each appellate court located in the County of
New Castle, State of Delaware) in connection with any such action, suit or other legal proceeding;
(ii) agrees that each state and federal court located in the County of New Castle, State of Delaware
shall be deemed to be a convenient forum; and (iii) agrees not to assert (by way of motion, as a
defense or otl1erwise), in any such action, suit or other legal proceeding commenced in any state or
federal court located in the County of New Castle, State of Delaware, any claim that such party is
not subject personally to the jurisdiction of such court, that such action, suit or other legal
proceeding has been brought in an inconvenient fo=, that the venue of such action, suit or other



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legal proceeding is improper or that this Agreement or the subject matter of this Agreement may not
be enforced in or by such court.

22.3 TO THE MAXIMUM EXTENT PERMITTED BY LAW, PROVIDER HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION,
SUIT OR OTHER LEGAL PROCEEDING ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR THE ENFORCEMENT OF ANY PROVISION OF TIDS AGREEMENT.


24.     Countemarts. This Agreement and any Exhibits and SOWs may be executed in one or more
counterparts, each of which when executed (whether by hand or by reliable electronic means of
execution) and delivered by facsimile, electronic transmission or by mail delivery, will be an
original and all of which shall constitute the same Agreement.



                                 (signatures on the following page)




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The parties have executed this Agreement, by their duly authorized representatives, to be effective
as of the Effective Date.

ROCHE SEQUENCING SOLUTIONS, INC.                       ARASH ALIZADEH




By:
                (si      e)
                                                       By:
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             (printed name)                                           (printed name)

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  Approved As To Form
  RMS LAW DEPT.


  By#




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                                                                              CONFIDENTIAL

                                          EXHIBIT A
                                 SERVICES AND PAYMENTS


1.      DESCRIPTION OF SERVICES TO BE RENDERED BY PROVIDER:

        (a)    Consultant will provide such services as may be requested by RSS or its Affiliates
        from time to time related to RSS' s or its Affiliates' research, development or
        commercialization of assays or bio-markers to detect, quantify, measure or analyze
        nucleic acid derived from tumors.

        (b)    Consultant will not be required to perform Services more frequently than one
        business day in each business week; such day will be mutually agreed by RSS and
        Consultant and may change from time to time depending on Consultant's obligations to
        Stanford and vacation schedule and RSS's needs.



2.      PAYMENT TERMS:




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                                            EXHIBITB

                     CALIFORNIA LABOR CODE SECTION 2870
              INVENTION ON OWN TIME-EXEMPTION FROM AGREEMENT

        "(a) Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her employer shall
not apply to an invention that the employee developed entirely on his or her own time without
using the employer's equipment, supplies, facilities, or trade secret information except for those
inventions that either:

              (1)    Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or development of the
employer; or

                (2)    Result from any work performed by the employee for the employer.

       (b)     To the extent a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be assigned under
subdivision (a), the provision is against the public policy ofthis state and is unenforceable."




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